25 F.3d 1040NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Joseph Anthony OWENS, Plaintiff Appellant,v.Eddie L. PEARSON, Warden;  Patricia A. Edge, AssistantWarden;  Calvin D. Brown, Chief of Security;George E. Giles, Sr., CorrectionalOfficer, Defendants Appellees.
    No. 94-6041.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 21, 1994.Decided:  May 18, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, Senior District Judge.  (CA-93-443)
      Joseph Anthony Owens, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, MICHAEL, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice on the recommendation of the magistrate judge when Appellant failed to timely comply with the fee order.  Finding no abuse of discretion, we deny leave to appeal in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    